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 1                                                                          Judge Robert J. Bryan
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT TACOMA
 9
      UNITED STATES OF AMERICA,       )
10
                                      )           NO. CR10-5452RJB
                           Plaintiff, )
11
                                      )
                   v.                 )           ORDER TO SEAL
12
                                      )
      FRANCISCO FARIAS-GUTIERREZ, )
13
                                      )
                         Defendant. )
14

15         Pursuant to CrR 32 (c)(1)(A), Local Rules W.D. Wash., the government's request

16   that the United States' Memorandum and all responses and replies in the above-captioned

17   matter be sealed, is hereby GRANTED.

18         DATED this 29th day of October, 2010.

19

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21

22
                                             A
                                             Robert J Bryan
                                             United States District Judge
23

24

25
     Presented by:
26

27   s/ Matthew H. Thomas
     MATTHEW H. THOMAS
28   Assistant United States Attorney

     ORDER TO SEAL/                                                               UNITED STATES ATTORNEY
                                                                                  1201 PACIFIC AVENUE, SUITE 700
     CR09-5452RJB                                                                  TACOMA, WASHINGTON 98402
                                                                                          (253) 428-3800
